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 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00103 MCE

12                                    Plaintiff,          STIPULATION TO SET MATTER FOR CHANGE
                                                          OF PLEA AND REGARDING EXCLUDABLE
13                             v.                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                          PROPOSED FINDINGS AND ORDER
14   FLORENCE FRANCISCO,
                                                          [18 U.S.C. § 3161]
15                                    Defendant.

16
17                                                    STIPULATION

18           Plaintiff United States of America, by and through its counsel of record, and defendant Florence

19 Francisco, by and through her counsel of record, hereby stipulate as follows:

20           1.      By previous order this matter was set for a status hearing on March 26, 2015.

21           2.      By this stipulation, defendant now moves to set this matter for a change of plea hearing

22 on May 7, 2015 and to exclude time between March 26, 2015 and May 7, 2015, under Local Codes T4

23 and T2. The United States does not oppose this request.

24           3.      The parties agree and stipulate, and request that the Court find the following:

25                   a)       The government has represented that the discovery associated with this case

26 includes investigative reports, loan records, and related documents in electronic form that constitute

27 approximately 40,000 pages. All of this discovery has been produced directly to counsel.

28                   b)       The United States has provided defense counsel a plea agreement, and the

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 1 defendant has requested to set the matter for a change of plea on May 7, 2015, based on the limited

 2 availability of her counsel until that date and the defendant’s need to attend to the medical care of
 3 another individual.

 4                   c)       Counsel for the defendant desire additional time to review discovery with respect

 5 to the proposed plea agreement.
 6                   d)       Counsel for the defendant believes that failure to grant the above-requested

 7 continuance would deny him the reasonable time necessary for effective preparation, taking into account

 8 the exercise of due diligence.
 9                   e)       The United States does not object to the continuance.

10                   f)       Based on the above-stated findings, the ends of justice served by continuing the

11 case as requested outweigh the interest of the public and the defendants in a trial within the original date

12 prescribed by the Speedy Trial Act.

13                   g)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14 et seq., within which trial must commence, the time period of March 26, 2015 and May 7, 2015,

15 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

16 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s
17 finding that the ends of justice served by taking such action outweigh the best interest of the public and

18 the defendant in a speedy trial.
19                   h)       This time period is also deemed excludable pursuant to 18 U.S.C.

20 § 3161(h)(7)(A), B(ii) [Local Code T2] on the basis that the case is complex due to the number of

21 defendants and nature of the prosecution.
22           4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

23 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

24 must commence.
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 1         IT IS SO STIPULATED.

 2 Dated: March 23, 2015                                    BENJAMIN B. WAGNER
                                                            United States Attorney
 3
                                                            /s/ Todd A. Pickles
 4                                                          TODD A. PICKLES
                                                            Assistant United States Attorney
 5
 6 Dated: March 23, 2015                                    /s/ Todd A. Pickles for
                                                            THOMAS JOHNSON, ESQ.
 7                                                          KRISTY KELLOG, ESQ.

 8                                                          Counsel for defendant Florence Francisco

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 1                                                       ORDER

 2          Pursuant to the parties’ stipulation, this matter is set for a change of plea hearing on May 7, 2015

 3 at 9:00 a.m. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

 4 the time period of March 26, 2015 and May 7, 2015, inclusive, is deemed excludable pursuant to 18

 5 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4I] and 18 U.S.C. § 3161(h)(7)(A), B(ii) [Local Code T2].
 6 The ends of justice served by taking such action outweigh the best interest of the public and the

 7 defendant in a speedy trial

 8          IT IS SO ORDERED.

 9 Dated: March 26, 2015

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